          Case 4:20-cv-05640-YGR Document 532 Filed 04/30/21 Page 1 of 4




 1 KATIE TOWNSEND (SBN 254321)

 2
     ktownsend@rcfp.org
     REPORTERS COMMITTEE FOR
 3   FREEDOM OF THE PRESS
 4   1156 15th Street NW, Suite 1020
     Washington, D.C. 20005
 5   Telephone: (202) 795-9300
 6   Facsimile: (202) 795-9310

 7 Counsel for Reporters Committee for
 8 Freedom of the Press and 18 Media
     Organizations
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10
11                           UNITED STATES DISTRICT COURT
12                        NORTHERN DISTRICT OF CALIFORNIA
13
14 EPIC GAMES, INC.,                              Case No. 4:20-cv-05640

15             Plaintiff/Counter-Defendant,       PRESS POOL SCHEDULE FOR
16                                                WEEK OF MAY 3, 2021
     v.
17                                                Judge: Hon. Yvonne Gonzalez Rogers
18 APPLE INC.,
19             Defendant/Counter-Claimant.
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                     PRESS POOL SCHEDULE FOR WEEK OF MAY 3, 2021 (20-CV-05640)
         Case 4:20-cv-05640-YGR Document 532 Filed 04/30/21 Page 2 of 4




 1        In accordance with the Court’s Pre-Trial Order No. 5, ECF No. 485, the
 2 Reporters Committee for Freedom of the Press, The Associated Press, The Atlantic
 3 Monthly Group LLC, Bloomberg L.P., The Center for Investigative Reporting (d/b/a
 4 Reveal), Dow Jones & Company, Inc., The E.W. Scripps Company, Gannett Co.,
 5 Inc., The Information, KPIX-TV, MLex, National Journal Group LLC, National Press
 6 Club Journalism Institute, The National Press Club, The New York Times Company,
 7 POLITICO LLC, The Seattle Times Company, TEGNA Inc., and Vox Media, LLC,
 8 (collectively the “Media Coalition”), hereby submits the press pool schedule for trial
 9 coverage in the above-captioned matter for the week of May 3, 2021.
10
11             Trial Day                     Designated Pool Reporters
12
        Monday, May 3, 2021        1. Leah Nylen, POLITICO
13
                                   2. Erin Griffith, The New York Times
14
        Tuesday, May 4, 2021       1. Stephen Nellis, Reuters
15
                                   2. Michael Acton, MLex
16
        Wednesday, May 5, 2021     1. Leah Nylen, POLITICO
17
                                   2. Joshua Sisco, The Information
18
        Thursday, May 6, 2021      1. Dorothy Atkins, Law360
19
                                   2. Leah Nylen, POLITICO
20
        Friday, May 7, 2021        1. Kellen Browning, The New York Times
21
                                   2. Elizabeth Lopatto, The Verge
22
23
     Dated: April 30, 2021
24                                                  /s/ Katie Townsend
25                                                  Katie Townsend
                                                    REPORTERS COMMITTEE
26                                                    FOR FREEDOM OF THE PRESS
27                                                  1156 15th St. NW, Ste. 1020
                                                    Washington, D.C. 20005
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                                             2
                  PRESS POOL SCHEDULE FOR WEEK OF MAY 3, 2021 (20-CV-05640)
     Case 4:20-cv-05640-YGR Document 532 Filed 04/30/21 Page 3 of 4




 1                                             Telephone: (202) 795-9303
 2
                                               Email: ktownsend@rcfp.org

 3                                             Counsel for the Reporters
 4                                             Committee for Freedom of the
                                               Press and 18 Media
 5                                             Organizations
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              PRESS POOL SCHEDULE FOR WEEK OF MAY 3, 2021 (20-CV-05640)
         Case 4:20-cv-05640-YGR Document 532 Filed 04/30/21 Page 4 of 4




 1                            CERTIFICATE OF SERVICE
 2
          I hereby certify that on April 30, 2021, I electronically served the foregoing
 3
 4 document via ECF upon all counsel of record and via email to the Court’s Media
 5 Liaison, Nicholas Jackson.

 6
     Dated: April 30, 2021                           /s/ Katie Townsend
 7                                                   Katie Townsend
 8                                                   REPORTERS COMMITTEE
                                                       FOR FREEDOM OF THE PRESS
 9                                                   1156 15th St. NW, Ste. 1020
10                                                   Washington, D.C. 20005
                                                     Telephone: (202) 795-9303
11                                                   Email: ktownsend@rcfp.org
12
                                                     Counsel for the Reporters
13                                                   Committee for Freedom of the
14                                                   Press and 18 Media
                                                     Organizations
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                  PRESS POOL SCHEDULE FOR WEEK OF MAY 3, 2021 (20-CV-05640)
